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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-313-RM

UNITED STATES OF AMERICA,

               Plaintiff,

v.

1. JAREH SEBASTIAN DALKE,

               Defendant.



          UNOPPOSED MOTION TO APPOINT A CLASSIFIED INFORMATION
            SECURITY OFFICER AND TO SET A STATUS CONFERENCE


        The United States of America, by and through its attorneys, Cole Finegan, United States

Attorney for the District of Colorado, Matthew G. Olsen, Assistant Attorney General for the

National Security Division, and undersigned counsel, moves this Court, pursuant to Section 2 of

the Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. 3. The government

anticipates that there may be litigation concerning the discovery and use of classified information

in this matter. For that reason, the government respectfully submits this memorandum of law to

apprise the Court of the applicability of CIPA and to move the court to appoint a Classified

Information Security Officer (“CISO”) and schedule a status conference in approximately 90

days.

        The government has consulted with counsel for the defendant, who do not object to either

the appointment of a CISO or the setting of a status conference.
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                                         BACKGROUND

        On September 27, 2022, the government obtained a complaint charging the defendant

with three counts of attempting to transmit national defense information to an agent or

representative of a foreign government, in violation of 18 U.S.C. § 794(a). On September 28,

2022, the Federal Bureau of Investigation arrested the defendant on the complaint. He made his

initial appearance on September 29, 2022.

        On October 6, 2022, the Grand Jury returned an indictment that charged the defendant

with six counts of attempting to transmit national defense information to an agent or

representative of a foreign government, in violation of 18 U.S.C. § 794(a). A detention hearing

was held on October 11, 2022. After reviewing written submissions and oral arguments from

both parties, Magistrate Judge S. Kato Crews issued an order of detention. In that order, Judge

Crews determined that the defendant presented a danger to the community and posed a flight

risk.

        A status conference is presently scheduled in this Court for October 27, 2022. The

government anticipates producing at least one production of unclassified discovery by November

1, 2022. That discovery will include, among other things, a redacted version of email

communications between the defendant and an FBI online covert employee (OCE), financial

records, telecommunications records, and search warrants and returns. Unclassified discovery

will continue on a rolling basis thereafter.

        In addition, there is a significant amount of discovery that is classified and that the

government cannot produce until the defense team has received their security clearances. The

government has consulted with the Classified Information Security Officer (“CISO”), who

explained that it will likely be at least sixty days before the defense team is cleared to the Top



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Secret//Sensitive Compartmented Information level. 1 Because it is difficult to estimate precisely

when the defense team will be cleared, the government believes that it would be premature to set

a schedule for classified discovery and CIPA litigation at the October 27 status conference.

            Therefore, the government respectfully requests that the court set a second status

conference in approximately ninety days. By that date, the government should be able to provide

a more fulsome update on the defense team’s clearances, classified discovery, and anticipated

CIPA litigation. Nevertheless, to better familiarize the parties and the Court with applicable

definitions and procedures, the government respectfully submits the following summary of CIPA

and related caselaw.

                                         OVERVIEW OF CIPA

            CIPA contains a set of procedures by which federal district courts rule on pretrial and

trial matters concerning the discovery, admissibility, and use of classified information 2 in

criminal cases. CIPA’s fundamental purpose is to “harmonize a defendant’s right to obtain and

present exculpatory material [at] trial and the government’s right to protect classified material in

the national interest.” United States v. Pappas, 94 F.3d 795, 799 (2d Cir. 1996). See also United

States v. Apperson, 441 F.3d 1162, 1193 n.8 (10th Cir. 2006) (CIPA “evidence[s] Congress’s

intent to protect classified information from unnecessary disclosure at any stage of a criminal

trial.”).



1
  The defense team may be able to obtain interim Top Secret clearance sooner, which would
allow access to some, but not all, of the classified discovery the government anticipates in this
case.
2
  For the purpose of CIPA, “classified information” includes any information or material
determined by the United States Government to require protection against unauthorized
disclosure for reasons of national security. 18 U.S.C. App. III § 1(a). “National security” means
the national defense and foreign relations of the United States. Id. § 1(b). See also Executive
Order 13526 (defining classified information).

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       CIPA neither creates a new right of discovery nor expands the rules governing the

admissibility of evidence. See, e.g., United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005)

(“CIPA does not create any discovery rights for the defendant.”); United States v. Johnson, 139

F.3d 1359, 1365 (11th Cir. 1998) (“CIPA has no substantive impact on the admissibility or

relevance of probative evidence.”). Rather, CIPA applies preexisting discovery law in criminal

cases to classified information and restricts discovery of classified information to protect the

government’s national-security interests. See United States v. Lustyik, 833 F.3d 1263, 1271

(10th Cir. 2016) (“CIPA provides guidance to trial judges applying Federal Rule of Criminal

Procedure 16(d) where confidential information is involved.” (citation omitted)); United States v.

Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th Cir. 1998); United States v. Baptista-Rodriguez,

17 F.3d 1354, 1363-64 (11th Cir. 1994). In other words, “CIPA is a procedural statute . . . that

does not give rise to an independent right of discovery.” Lustyik, 833 F.3d at 1271.

       A.      Section 2—Pretrial Conference

       Section 2 of CIPA provides that “[a]t any time after the filing of the indictment or

information, any party may move for a pretrial conference to consider matters relating to

classified information that may arise in connection with the prosecution.” 18 U.S.C. App. 3 at §

2. After a Section 2 motion is filed, the Court “shall promptly hold a pretrial conference to

establish the timing of requests for discovery, the provision of notice required by Section 5 of

[CIPA], and the initiation of the procedure established by Section 6 of [CIPA].” Id. During the

pretrial conference, district courts generally establish the trial schedule for the case, including the

timing of (1) discovery requests by the defense; (2) motions by the government for summary,

substitution or deletion of classified information; (3) the defense’s pretrial notice to the United

States under CIPA Section 5 whereby the defendant identifies an intent to disclose classified



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information, if any, and explaining the need for such a disclosure; and (4) hearings concerning

the use, relevance, and admissibility of classified information pursuant to CIPA Section 6. See

id. Courts also may consider any matters relating to classified information, or any matters that

promote a fair and expeditious trial. Id. To foster open discussions at the pretrial conference,

Section 2 provides that no admission made by the defendant, or his attorney, at the pretrial

conference may be used against the defendant unless the admission is in writing and signed by

both the defendant and his attorney. Id.

       B.      Section 3—Protective Orders

       Section 3 mandates that federal district courts issue a protective order upon motion by the

United States to protect against the improper disclosure of any classified information produced

by the government to the defense. Id. § 3. Section 3 was intended “to codify the well-

established practice, based on the inherent authority of federal courts, to issue protective orders,”

Pappas, 94 F.3d at 801, as well as to supplement the Court’s authority under Federal Rule of

Criminal Procedure 16(d)(1) to issue protective orders in connection with the discovery process.

The government expects that it will prepare a motion for a protective order once members of the

defense team begin to receive their security clearances.

       C.      Section 4—Protection of Classified Information During Discovery

       Section 4 of CIPA authorizes federal district courts to deny, or otherwise restrict,

discovery of classified documents and information in the possession, custody, or control of the

United States. 18 U.S.C. App. III § 4. Similarly, the Federal Rules of Criminal Procedure

provide that district courts “may, for good cause, deny, restrict, or defer discovery or inspection,

or grant other appropriate relief.” Fed. R. Crim. P. 16(d)(1).




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       Section 4 provides that “[t]he court, upon a sufficient showing, may authorize the United

States to delete specified items of classified information from documents” produced in

discovery, “substitute a summary of the information for such classified documents,” or substitute

a statement admitting relevant facts the classified information would tend to prove.” 18 U.S.C.

App. 3 § 4. The legislative history of CIPA makes clear that Section 4 was intended to clarify

the district court’s power under Rule 16(d)(1) to deny, or restrict, discovery to protect national

security. See S. Rep. No. 96-823 at 6, 1980 U.S.C.C.A.N. at 4299-4300. See also Lustyik, 833

F.3d at 1271 (CIPA permits courts to “issue protective orders denying or restricting discovery for

good cause”) (quoting United States v. Aref, 533 F.2d 72, 79-80 (2d Cir. 2008)).

       Like Federal Rule of Criminal Procedure 16(d)(1), Section 4 provides the government

may demonstrate the use of alternatives to be warranted through an in camera, ex parte

submission to the court. 18 U.S.C. App. III § 4. (“The Court may permit the United States to

make a request for such authorization in the form of a written statement to be inspected by the

court alone.”); see, e.g., United States v. Abu-Jihaad, 630 F.3d 102, 140 (2nd Cir. 2010); United

States v. Yunis, 867 F.2d 617, 622-23 (D.C. Cir. 1989); United States v. Sarkissian, 841 F.2d

959, 965 (9th Cir. 1988); United States v. Pringle, 751 F.2d 419, 427 (1st 1984). The

government’s Section 4 filings, including all attachments, must remain ex parte and in camera,

under seal, and preserved in the record to be made available to the appellate court in the event of

an appeal. 18 U.S.C. App. III § 4.

       D.      Sections 5 and 6—Procedure for Cases Involving Classified
               Information Possessed by or Disclosed to the Defendant

       In this case, the government anticipates producing classified information to the defense

team that will be used at a pretrial proceeding or trial. In addition, because he previously had

access to classified information, the defendant may seek to use classified information he recalls

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but that the government has not produced. Section 5 requires a defendant who seeks to disclose

classified information at a pretrial proceeding or trial to provide timely written notice to the court

and the government. See 18 U.S.C. App. III § 5(a). The defendant must provide notice “within

the time specified by the court, or where no time is specified, within thirty days prior to trial.”

Id. Although the description of the classified information may be brief, it must be particularized

and set forth the specific classified information that the defendant reasonably believes to be

necessary for the defense. See United States v. Collins, 720 F.2d 1195, 1199 (11th Cir. 1983).

The defendant must provide formal notice under Section 5 even if the government knows the

defendant may assert a defense involving classified information. See United States v. Badia, 827

F.2d 1458, 1465-66 (11th Cir. 1987).

       Section 5 specifically prohibits the defendant from disclosing any classified information

until after (1) providing notice, (2) allowing the government to seek a determination of the use,

relevance, and admissibility of such information under Section 6, and (3) the time for any

interlocutory appeal permitted under Section 7 expires. 18 U.S.C. App. III § 5(a). If the

defendant fails to provide the requisite pretrial notice, the court may prohibit the disclosure of the

classified information by the defense, and it may prohibit the defendant from examining any

witness with respect to such information. Id. § 5(b).

       After the defendant files notice under Section 5 of CIPA, the government may request

that the court conduct a hearing to make “all determinations concerning the use, relevance or

admissibility” of the defense-noticed classified information. 18 U.S.C. App. III § 6(a). Upon

such a request, the court shall conduct such a hearing, and it must conduct the hearing in camera

if the Attorney General certifies to the court that a public proceeding may result in the disclosure

of classified information. Id. Prior to the hearing, the government must first provide the



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defendant with notice of the classified information that will be at issue. Id. § 6(b)(1). If the

particular information previously was not available to the defendant, the government may, with

the court’s approval, provide a generic description of the material to the defendant. Id. The

court also may order the government to provide the defendant with “details as to the portion of

the indictment or information at issue in the hearing as are needed to give the defendant fair

notice to prepare for the hearing.” Id. § 6(b)(2).

       If the government requests a hearing before the proceeding at which the defendant

expects to disclose the classified information, the court must issue a ruling before the proceeding

commences. Id. § 6(a). The district court’s ruling must be in writing and should set forth the

basis for its determination as to each item of classified information. Id.

       After an in camera hearing, if the district court determines that the classified information

at issue may not be disclosed during the proceeding, the record of the hearing must be sealed and

preserved for use in the event of an appeal. Id. § 6(d). If the court finds the classified

information useful, relevant, or otherwise admissible, the government may ask for the court to

approve of (1) the government-proposed substitution of a statement admitting relevant facts that

the specific classified information would tend to prove, or (2) the government-proposed

substitution of a summary of the classified information. Id. § 6(c)(1).

       If the court denies the government’s motion for substitution under Section 6(c), CIPA

permits the government, by affidavit from the Attorney General, to object to the disclosure of the

classified information at issue. Id. § 6(e)(1). Upon the government’s filing of the Attorney

General’s affidavit, the court “shall order that the defendant not disclose or cause the disclosure

of such information,” and it may impose a sanction against the government to compensate for the

defendant’s inability to present proof of the specific item of classified information. See S. Rep.



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96-823 at 9, 1980 U.S.C.C.A.N. at 4302-3. Section 6(e)(2) provides a sliding scale of possible

sanctions, which include dismissal of specific counts, finding against the government on an issue

to which the classified information related, striking or precluding testimony of a witness, or

dismissing the indictment. 18 U.S.C. App. III § 6(e)(2). An order imposing a sanction shall not

take effect until the government has the opportunity to appeal the order under Section 7, or

thereafter withdraw its objection to the disclosure of the information. Id.

       Whenever the court rules at a Section 6(a) hearing that classified information is

admissible, the court must require the government to provide the defendant with information it

expects to use to rebut the classified information, “unless the interests of fairness do not so

require.” Id. § 6(f). The court may place the United States under a continuing duty to disclose

rebuttal information. Id. If the government fails to comply, the court may exclude the rebuttal

evidence and prohibit the government from examining any witness with respect to such

information. Id.

       E.      Section 7—Interlocutory Appeal

       Section 7 permits the United States to take an expedited interlocutory appeal to the

appellate court if the district court (a) authorizes the disclosure of classified information, (b)

imposes sanctions for nondisclosure of classified information, or (c) refuses to issue a protective

order sought by the United States to prevent the disclosure of classified information. Id. § 7. If

an appeal is taken, the court must not commence the trial until the appeal is resolved. Id. Such

an appeal and decision does not affect the defendant’s right to lodge a subsequent appeal upon

conviction (if any) of an adverse ruling by the trial court. Id. § 7(b).




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       F.      Section 8—Procedures Governing the Introduction of Classified Information at
               Trial or at Pretrial Proceeding

       Section 8 prescribes additional protections and procedures governing the introduction of

classified information into evidence. Id. § 8. Specifically, Section 8(a) provides that classified

documents may be admitted into evidence without changing their classification status. Section

8(b) permits the court to order admission into evidence of only a part of a document when

fairness does not require the whole document to be considered by the factfinder.

       Section 8(c) provides a procedure to address the problem presented at a proceeding when

the defendant’s counsel asks a question, or embarks on a line of inquiry, that would require the

witness to disclose classified information. Specifically, under Section 8(c), the government may

object to any question, or line of inquiry, that may require the witness to disclose classified

information not previously held to be admissible. 18 U.S.C. App. III § 8(c). Following an

objection, the court “shall take such suitable action to determine whether the response is

admissible as will safeguard against the compromise of any classified information.” Id. In

effect, this procedure supplements the notice provision under Section 5 and the hearing provision

in Section 6(a) to cope with situations that cannot be handled effectively by those sections, such

as where the defense does not realize that the answer to a given question will reveal classified

information.

       G.      Section 9—Security Procedures

       Section 9 requires the Chief Justice of the United States, in consultation with other

executive branch officials, to prescribe rules establishing procedures to protect classified

information in the custody of federal courts from unauthorized disclosure. 18 U.S.C. App. III §

9(a). Security Procedures established pursuant to this provision are codified directly following

Section 9 of CIPA. They provide that in any criminal case in which classified information “is

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within, or reasonably expected to be within, the custody of the court, the court shall designate a

court security officer.” See Pub. L. 96-456 (1980). The government recommends Mr. Winfield

S. “Scooter” Slade, Supervisory Security Specialist, for the position of Classified Information

Security Officer in the above-captioned case. The government also recommends Security

Specialists Daniel O. Hartenstine, Patrice E. King, Daniella M. Medel, Connor B. Morse,

Matthew W. Mullery, Carli V. Rodriguez-Feo, Harry J. Rucker, and Abigail J. Trzyzewski as

alternate Classified Information Security Officers.




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                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court appoint W.

Scooter Slade as the court security officer and schedule a status conference in ninety days.



                                                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on the 24th day of October 2022, I filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send an electronic notification to all counsel of

record.


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